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                       EXHIBIT 2
                        (Complaint)
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      3275 South Jones Blvd., Suite 105                                    CASE NO: A-21-839674-B
 4
      Las Vegas, Nevada 89146                                                       Department 13
 5    Telephone: (702) 307-9500
      Attorneys for Plaintiff
 6

 7

 8                                       DISTRICT COURT
 9                                   CLARK COUNTY, NEVADA
10

11    IGNITE SPIRITS, INC., a Wyoming                        Case No.:
      corporation,                                           Dept. No.:
12
                     Plaintiff,                              COMPLAINT
13
      vs.                                                    ARBITRATION EXEMPTION;
14
                                                             DECLARATORY RELIEF
      CONSULTING BY AR, LLC, a Florida limited
15    liability company; DOES I through X, inclusive,
      and ROE BUSINESS ENTITIES I though X,
16    inclusive,                                      (Business Court Requested)
17                   Defendant(s).
18

19

20           Plaintiff, IGNITE SPIRITS, INC. (“Plaintiff” or “Ignite”), by and through his

21    attorneys of record, the law firm of Flangas Law Group, alleges and asserts as follows:

22                                              PARTIES

23           1.      Plaintiff Ignite, formerly known as Ignite Beverages, Inc. is, and was at all

24    relevant times to this action, a registered Wyoming corporation.

25           2.      Defendant CONSULTING BY AR, LLC (“CAR” or “Defendant”), was at

26    all relevant times to this action and is a registered Florida limited liability company.

27           3.      The true names and capacities, whether individual, corporate, associate, or

28    otherwise of Defendants herein designated as Does I through X and Roe Corporations I




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 1    through X, inclusive, are not known to Plaintiff at this time and are therefore named as
 2    fictitious defendants. Plaintiff will seek to amend this Complaint to allege the true names
 3    and capacities of Does I through X and Roe Corporations I through X when and as
 4    ascertained.
 5                                 JURISDICTION AND VENUE
 6           4.       This Court has jurisdiction over this matter pursuant to the terms of the
 7    contract and as the cause of action arises directly from Defendant’s conduct within/toward
 8    the State of Nevada. See NRS 14.065.
 9           5.       Venue is appropriate in this judicial district pursuant to NRS 13.040, and
10    the contract further provides for said venue.
11                                  GENERAL ALLEGATIONS
12           6.       Plaintiff repeats, realleges, and incorporates by reference the preceding
13    paragraphs of this Complaint as though fully set forth herein.
14           7.       On or about March 11, 2021, Plaintiff and Defendant entered into a letter
15    agreement (hereinafter the “Letter Agreement”) pursuant to which Defendant was
16    supposed to assist Ignite in obtaining a “definitive agreement” with Resorts World Las
17    Vegas (hereinafter “Resorts World”), not later than July 1, 2021, in exchange for certain
18    compensation.
19           8.       Pursuant to the Letter Agreement, any definitive agreement(s) with Resorts
20    World was supposed to contain substantially all of the terms and conditions detailed in
21    Exhibit A, which was attached to the Letter Agreement (hereinafter “Exhibit A”).
22           9.       The July 1, 2021 date set forth in the Letter Agreement was materially
23    important to the Plaintiff because Resorts World was supposed to open by July 4, 2021.
24           10.      Although Resorts World’s opening date was moved up to June 24, 2021,
25    Ignite continued to deal with Resorts World in good faith effort to make the definitive
26    agreements happen as contemplated by the Letter Agreement and Exhibit A.
27           11.      While there were definitive agreements executed between Ignite and
28    Resorts World, they were not executed by July 1, 2021, and moreover, these definitive


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 1    agreements failed to encompass many of the material terms and conditions set forth in
 2    Exhibit A, or in other words, the definitive agreements failed to contain substantially all of
 3    the terms and conditions detailed in Exhibit A.
 4           12.     There were no executed amendments to the Letter Agreement.
 5           13.     Defendant materially failed to perform as required by the Letter Agreement,
 6    in that Defendant failed to obtain a definitive agreement between Ignite and Resorts World,
 7    containing substantially all of the material terms and conditions detailed in Exhibit A not
 8    later than July 1, 2021.
 9           14.     The material terms and conditions detailed in Exhibit A that Defendant
10    failed to obtain in the definitive agreement(s) include but are not limited to Resorts World
11    purchasing a certain minimum of Ignite’s products; ensuring certain products of Ignite
12    were available in the mini-bars inside Resorts World’s hotel rooms; ensuring certain
13    products of Ignite were available for sale at Resort World controlled bars located in Resorts
14    World; ensuring other products of Ignite were available for sale throughout Resorts
15    World’s property; Resorts World covering the cost of a kiosk for Ignite that would carry
16    Ignite products and Resort Worlds staffing the kiosk; and Resorts World hosting a launch
17    party at its grand opening featuring Ignite products (hereinafter the “Breached Terms”).
18           15.     Defendant’s failure to deliver the Breached Terms constitutes a failure to
19    obtain a definitive agreement containing substantially all of the terms and conditions
20    detailed in Exhibit A, and therefore constitutes a material breach of the Letter Agreement.
21           16.     Defendant’s failure to timely deliver a definitive agreement containing the
22    Breached Terms and other terms and conditions in Exhibit A by July 1, 2021 also
23    constitutes a material breach of the Letter Agreement.
24           17.     Because of Defendant’s material breach of the Letter Agreement, Defendant
25    is not entitled to the certain compensation set forth in the Letter Agreement.
26           18.     Defendant has recently retained counsel who is threatening to sue Plaintiff
27    for the certain compensation set forth in the Letter Agreement, despite Defendant’s failure
28    to perform as required by the Letter Agreement.


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 1           19.     Plaintiff seeks a declaratory judgment from the Court that Defendant failed
 2    to perform as required by the Letter Agreement to obtain a definitive agreement containing
 3    substantially all of the terms and conditions detailed in Exhibit A.
 4           20.     Plaintiff seeks a declaratory judgment from the Court that Defendant
 5    breached the Letter Agreement when Defendant failed to obtain a definitive agreement
 6    containing substantially all of the terms and conditions detailed in Exhibit A.
 7           21.     Plaintiff seeks a declaratory judgment from the Court that because
 8    Defendant breached the Letter Agreement, Defendant is not entitled to the certain
 9    compensation set forth in the Letter Agreement.
10           22.     Because of Defendant’s counsel threatening litigation, Plaintiff seeks a
11    declaratory judgment from the Court in its favor to fully and finally resolve this dispute.
12                                 FIRST CLAIM FOR RELIEF
                                       (Declaratory Relief)
13

14           23.     Plaintiff repeats, realleges, and incorporates by reference the preceding

15    paragraphs of this Complaint as though fully set forth herein.

16           24.     There exists an actual controversy between Plaintiff and Defendant

17    regarding the Letter Agreement and Defendant’s failure to substantially perform

18    thereunder.

19           25.     Plaintiff desires a judicial determination and declaration that Defendant has

20    breached the Letter Agreement, and that the Plaintiff in not in breach of the Letter

21    Agreement.

22           26.     Further, Plaintiff desires a judicial determination and declaration that it has

23    no further obligation pursuant to the Letter Agreement.

24           27.     Plaintiff desires a judicial determination and declaration that the Letter

25    Agreement is no longer valid or enforceable as a result of Defendant’s breach.

26           28.     This dispute is ripe for judicial determination and the controversy presently

27    exists due to Defendant’s breach of the Letter Agreement.

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 1           29.     As a direct and proximate result of Defendant’s conduct, Plaintiff has been
 2    required to retain the services of an attorney to bring this action and is entitled to
 3    attorneys’ fees and costs of suit incurred herein.
 4                                               PRAYER
 5           WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
 6           1.      For a declaration from this Court declaring the rights, status, and other legal
 7    relations of the parties to the litigation arising from the Letter Agreement.
 8           2.      For all costs and expenses incurred by Plaintiff in enforcing its rights
 9    prosecuting this action including, but not limited to, reasonable attorneys’ fees and costs
10    incurred in prosecuting this action; and
11           3.      For such other and further relief as the court deems just and proper.
12           Dated this 18th day of August 2021.
13                                                         FLANGAS LAW GROUP
14                                                         /s/Kimberly P. Stein
15                                                         KIMBERLY P. STEIN, ESQ.
                                                           Nevada Bar No. 8675
16                                                         E-mail:     kps@fdlawlv.com
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17                                                         Las Vegas, Nevada 89146
                                                           Attorneys for Plaintiff
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